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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  ELLIOTT G. NELSON,

                 Petitioner,

  v.                                                   Civil Action No. 5:07CV99
                                                       Criminal Action No. 5:05CR13-08
                                                       (JUDGE STAMP)
  UNITED STATES OF AMERICA,

                 Defendant.

                               REPORT AND RECOMMENDATION
                                THAT § 2255 MOTION BE DENIED
                                        AS UNTIMELY

                                        I. INTRODUCTION

         On August 6, 2007,      pro se petitioner filed a Motion to Vacate, Set Aside or Correct

  Sentence Pursuant to 28 U.S.C. § 2255.

                                             II. FACTS

         A.      Conviction and Sentence

                 On May 27, 2005, Petitioner signed a plea agreement by which he agreed to plead

  guilty to Count 20, aiding and abetting the possession with intent to distribute cocaine base and

  cocaine, in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B).

                 On November 30, 2005, the Court sentenced the petitioner to a term of sixty (60)

  months imprisonment.

         B.      Appeal

                 Petitioner did not pursue a direct appeal.
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         C.      Recommendation

                 Based upon a review of the record, the undersigned recommends that the petitioner’s

  § 2255 motion be denied and dismissed from the docket as untimely.

                                           III. ANALYSIS

         In 1996, the Anti-Terrorism and Effective Death Penalty Act of 1996 [“AEDPA”] was

  enacted, establishing a one-year limitation period within which to file any federal habeas corpus

  motion. 28 U.S.C. § 2255.1

         The limitation period shall run from the last of:

         1.      The date on which the judgment of conviction becomes final;

         2.      The date on which the impediment to making a motion created by governmental
                 action in violation of the Constitution or laws of the United States is removed, if
                 the movant was prevented from making a motion by such governmental action;

         3.      The date on which the right was initially recognized by the Supreme Court, if that
                 right has been newly recognized by the Supreme Court and made retroactively
                 applicable to cases on collateral review2; or

         4.      The date on which the facts supporting the claim or claims presented could have
                 been discovered through the exercise of due diligence.

  28 U.S.C. § 2255.




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           The AEDPA applies to those cases filed after April 24, 1996, the effective date of the
  AEDPA. Lindh v. Murphy, 521 U.S. 320 (1997); Breard v. Pruett, 134 F.3d 615 (4th Cir.), cert.
  denied, 523 U.S. 371 (1998).
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           The one-year statute of limitation period under this subsection runs from the date on which
  the Supreme Court initially recognized the right asserted, not from the date on which the right
  asserted was made retroactive. Dodd v. United States, 545 U.S. 353, (2005).

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         In his § 2255 motion, the petitioner maintains that his motion is timely under AEDPA

  because he has “been actively seeking to remedy the situation.” In this regard, the petitioner is

  clearly wrong.

         In most cases, a judgment of conviction becomes final when the time for filing a direct

  appeal expires. Aikens v. United States, 204 F.3d 1086, 1089 n. 1 (11th Cir. 2000). There are two

  recognized exceptions to this general rule, which apply when a federal prisoner seeks direct

  appellate review of his conviction or sentence. First, if, following the disposition of his direct

  appeal, a federal prisoner files a petition for writ of certiorari with the U.S. Supreme Court, the

  conviction becomes final when the Supreme Court either denies certiorari or issues a decision on

  the merits. See Washington v. United States, 243 F.3d 1299, 1300 (11th Cir. 2001). Second, if the

  federal prisoner does not file a timely certiorari petition after disposition of his direct appeal, the

  conviction becomes final on the date on which the prisoner’s time for filing such a petition expires,

  which is ninety days after entry of the judgment on direct appeal. See Clay v. United States, 537

  U.S. 522, 532 (2003). Here neither exception applies because the petitioner did not file a direct

  appeal of his conviction.

         For federal prisoners, the time for filing a direct appeal expires ten days after the written

  judgment of conviction is entered on the criminal docket. See Fed. R.Ap. P. 4(b)(1)(A)(I), (6).

  Therefore, the petitioner’s conviction became final on December 10, 2005, the date his time for

  filing a direct appeal expired. Therefore, he had until December 10, 2006 to file his habeas corpus

  under AEDPA. Because the petitioner did not file his § 2255 motion until August 6, 2007, it is

  clearly time barred.




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                                     IV. RECOMMENDATION

         Based upon a review of the record, the undersigned recommends that the petitioner’s § 2255

  motion be denied and dismissed from the docket because the petitioner is time-barred from raising

  his claim since his petition was filed over one year after his conviction became final.

         Within ten (10) days after being served with a copy of this report and recommendation, any

  party may file with the Clerk of Court written objections identifying those portions of the

  recommendation to which objection is made and the basis for such objections. A copy of any

  objections shall also be submitted to the United States District Judge. Failure to timely file

  objections to this recommendation will result in waiver of the right to appeal from a judgment of this

  Court based upon such recommendation. 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140

  (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985): United States v. Schronce, 727 F.2d 91 (4th

  Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

         The Clerk of the Court is directed to send a copy of this report and recommendation to the

  pro se petitioner by certified mail, return receipt requested, at his last known address as shown on

  the docket sheet. The Clerk of the Court is further directed to provide a copy of this report and

  recommendation to all counsel of record, as applicable, as provided in the Administrative Procedures

  for Electronic Case Filing in the United States District Court for the Northern District of West

  Virginia.

         DATED: September 7, 2007


                                                        /s/ James E. Seibert
                                                        JAMES E. SEIBERT
                                                        UNITED STATES MAGISTRATE JUDGE




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